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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

 JANET HOYT,                                / Case No.

        Plaintiff,                             INJUNCTIVE RELIEF SOUGHT

 v.

 LAXMI AUGUSTA NATIONAL HOTEL,

 LTD,

        Defendant.


  PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiff Janet Hoyt, through her undersigned counsel, states the following

 in support of her Complaint for Declaratory and Injunctive Relief to remedy

 discrimination by Laxmi Augusta National Hotel, LTD based on Plaintiff’s

 disability in violation of Title III of the Americans with Disabilities Act of 1990, 42

 U.S.C. §§ 12181 et seq. (“ADA”), and its implementing regulation, 28 C.F.R. Part

 36:

                            JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this action pursuant to 42 U.S.C. §

 2000a-3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.
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        2.      Venue is appropriate in this district under 28 U.S.C. § 1391

 because the acts of discrimination occurred in this district, and the property that

 is the subject of this action is in this district.

                                          PARTIES

        3.      Plaintiff is a resident of Palm Beach County, Florida.

        4.      Defendant is a limited partnership with its registered office located

 at 300 South Orange Ave, Ste 1000, Orlando, FL 32801.

        5.      Upon information and belief, Defendant owns or operates “Hilton

 Garden Inn Orlando Airport” whose locations qualify as a “Facility” as defined in

 28 C.F.R. § 36.104.

                                FACTUAL ALLEGATIONS

        6.      Plaintiff incorporates the above paragraphs by reference.

        7.      Plaintiff is an individual with numerous disabilities including extreme

 chronic arthritis in her lower extremities, the loss of use of her legs, rheumatoid

 arthritis in both her arms and legs, a floating knee, a fractured leg, multiple ankle

 surgeries, and both significant scarring and scar tissue build up in her knees due

 to numerous surgeries. These permanent conditions cause sudden onsets of

 severe pain and require Plaintiff to use a mobility device at all times, which

 substantially limits Plaintiff's major life activities.
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        8.      At the time of Plaintiff’s initial visit to Hilton Garden Inn Orlando

 Airport (and prior to instituting this action), Plaintiff suffered from a qualified

 disability under the 28 C.F.R. 36.105.

        9.      Plaintiff encountered barriers to access at the Facility which denied

 him full and equal access and enjoyment of the services, goods, and amenities.

        10.     Plaintiff is a customer of Defendant and would return to the Facility

 if Defendant modifies the Facility and its policies and practices to accommodate

 individuals who have physical disabilities, but she is deterred from returning due

 to the barriers and discriminatory effects of Defendant’s policies and procedures

 at the Facility.

        11.     Plaintiff also acts as a tester by inspecting Facilities for accessibility

 to advance the purpose of the ADA, the civil rights of disabled individuals, and to

 be certain that she can enjoy the same options and privileges to patronize places

 of public accommodation as non-disabled individuals without worrying about

 accessibility issues.

        12.     Plaintiff returns to every Facility after being notified of remediation

 of the discriminatory conditions to verify compliance with the ADA and regularly

 monitors the status of remediation.

                           COUNT I
     REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

        13.     Plaintiff incorporates the above paragraphs by reference.
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        14.    This Court is empowered to issue a declaratory judgment

 regarding: (1) Defendant’s duty to comply with the provisions of 42 U.S.C. §

 12181 et al; (2) Defendant’s violation of 42 U.S.C. § 12182; (3) Defendant’s duty

 to remove architectural barriers at the Facility; and (4) Plaintiff’s right to be free

 from discrimination due to her disability. 28 U.S.C. § 2201.

        15.    Plaintiff seeks an order declaring that she was discriminated

 against on the basis of her disability.

                            COUNT II
     REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

        16.    Plaintiff incorporates the above paragraphs by reference.

        17.    Hilton   Garden    Inn      Orlando   Airport   is   a place of public

 accommodation covered by Title III of the ADA because it is operated by a

 private entity, its operations affect commerce, and it is a hotel. 42 U.S.C. §

 12181(7); see also 28 C.F.R. § 36.104.

        18.    Defendant is a public accommodation covered by Title III of the

 ADA because it owns, leases (or leases to), or operates a place of public

 accommodation. See 42 U.S.C. §§ 12181(7); 28 C.F.R. § 36.104.

        19.    The 2010 Standards for Accessible Design (the “Standards”) set

 minimum requirements for public accommodations to be readily accessible to

 and usable by individuals with disabilities.
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       20.     Public    accommodations       must    remove     architectural    barriers

 pursuant to the Standards unless a safe harbor applies. 28 C.F.R. § 36.304(d)(2).

       21.     Plaintiff personally encountered architectural barriers on February

 26, 2020 and July 20, 2021, at the Facility located at 7300 Augusta National Dr.,

 Orlando, FL 32822:

             a. Women's Restroom:

                   i. Providing a gate or door with a continuous opening pressure

                        of greater than 5 lbs. which violates sections 404, 404.1,

                        404.2, 404.2.9 and 309.4 of the Standards.

                  ii. Providing      a   swinging    door   or   gate   without    proper

                        maneuvering clearances required by sections 404, 404.1,

                        404.2, 404.2.3, 404.2.4 and 404.2.4.1 of the Standards.

                  iii. Not providing operable parts that are functional or are in the

                        proper reach ranges as required by sections 309, 309.1,

                        309.2, 309.3, 309.4 and 308 of the Standards

                  iv. Not providing operable parts (stall door handle) that are

                        functional or are in the proper reach ranges as required by

                        sections 309, 309.1, 309.2, 309.3, 309.4 and 308 of the

                        Standards.
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                v. Providing sinks and/or countertops that are greater than the

                   34 inch maximum allowed above the finished floor or ground

                   as required by sections 606 and 606.3 of the Standards.

               vi. Not providing the proper insulation or protection for plumbing

                   or other sharp or abrasive objects under a sink or countertop

                   as required by sections 606 and 606.5 of the Standards.

               vii. Not providing the water closet in the proper position relative

                   to the side wall or partition as required by sections 604 and

                   604.2 of the Standards.

              viii. Not providing grab bars as required by sections 604, 604.5,

                   609, 609.4, 609.1 and 609.3 of the Standards.

               ix. Not providing toilet paper dispensers in the proper position in

                   front of the water closet or at the correct height above the

                   finished floor as required by sections 604, 604.7 and 309.4

                   of the Standards.

                x. Not providing a coat hook within the proper reach ranges for

                   a person with a disability as required by sections 603, 603.4

                   and 308 of the Standards.

               xi. Not providing a mirror above lavatories or countertops at the

                   proper height above the finished floor as required by

                   sections 603 and 603.3 of the Standards.
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              b. Accessible Parking:

                     i. Not providing a sign for disabled parking at the proper height

                        as required by sections 502 and 502.6 of the Standards.

        22.      These barriers cause Plaintiff difficulty in safely using each element

 of the Facility, requiring extra care due to concerns for safety and a fear of

 aggravating her injuries.

        23.      Defendant has failed to remove some or all of the barriers and

 violations at the Facility.

        24.      Defendant’s failure to remove these architectural barriers denies

 Plaintiff full and equal access to the Facility in violation of 42 U.S.C. §

 12182(b)(2)(A)(iv).

        25.      Defendant’s failure to modify its policies, practices, or procedures to

 train its staff to identify architectural barriers and reasonably modify its services

 creates an environment where individuals with disabilities are not provided goods

 and services in the most integrated setting possible is discriminatory. 42 U.S.C.

 §§ 12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

        26.      Defendant has discriminated and continues to discriminate against

 Plaintiff (and others who are similarly situated) by denying access to full and

 equal enjoyment of goods, services, facilities, privileges, advantages, or

 accommodations located at the Facility due to the barriers and other violations

 listed in this Complaint.
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        27.     It would be readily achievable for Defendant to remove all of the

 barriers at the Facility.

        28.     Failing to remove barriers to access where it is readily achievable is

 discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a),

 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

                                RELIEF REQUESTED

 WHEREFORE, Plaintiff respectfully requests that this Court:

        A.      declare that the Facility identified in this Complaint is in violation of

 the ADA;

        B.      enter an Order requiring Defendant make the Facility accessible to

 and usable by individuals with disabilities to the full extent required by Title III of

 the ADA;

        C.      enter an Order directing Defendant to evaluate and neutralize its

 policies, practices, and procedures towards persons with disabilities;

        D.      award Plaintiff attorney fees, costs (including, but not limited to

 court costs and expert fees) and other expenses of this litigation pursuant to 42

 U.S.C. § 12205; and

        E.      grant any other such relief as the Court deems just and proper.


                                                    Respectfully Submitted,


 THE ONYX GROUP                                            LETT LAW FIRM
 Attorney for the Plaintiff                                Attorney for the Plaintiff
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 Dated: February 22, 2022
